    Case 2:22-cv-07775-JWH-KES Document 239 Filed 05/17/23 Page 1 of 4 Page ID #:2716
Name and address:

                 Christina N. Goodrich (SBN 261722)
                           K&L GATES LLP
               10100 Santa Monica Boulevard, Sth Floor
                    Los Angeles, California 90067


                                              UNITED STATES DISTRICT COURT
                                             CENTRAL DISTRICT OF CALIFORNIA

                                                                            CASE NUMBER
ENTROPIC COMMUNICATIONS, LLC
                                                         Plaintiff(s),                         2:22-cv-07775-JWH-JEM

                  V.

                                                                              APPLICATION OF NON-RESIDENT ATTORNEY
DIRECTV, LLC, et al.                                                                TO APPEAR IN A SPECIFIC CASE
                                                      Defendant(s),                              PRO HAC VICE
INSTRUCTIONS FOR APPLICANTS
(1) The attorney seeking to appear pro hac vice must complete Section I of this Application, personally sign, in ink, the certification in
    Section II, and have the designated Local Counsel sign in Section III. ELECTRONIC SIGNATURES ARE NOT ACCEPTED. Space to
    supplement responses is provided in Section IV. The applicant must also attach a Certificate of Good Standing (issued within the last 30
    days) from every state bar to which he or she is admitted; failure to do so will be grounds for denying the Application. Scan the
    completed Application with its original ink signature, together with any attachment(s), to a single Portable Document Format (PDF) file.
(2) Have the designated Local Counsel file the Application electronically using the Court's electronic filing system ("Motions and Related
    Filings => Applications/Ex Parte Applications/Motions/Petitions/Requests => Appear Pro Hac Vice (G-64)"), attach a Proposed Order
    (using Form G-64 ORDER, available from the Court's website), and pay the required $500fee online at the time offiling (using a credit
    card). The fee is required for each case in which the applicantfiles an Application. Failure to pay the fee at the time offiling will be
    grounds for denying the Application. Out-of-state federal government attorneys are not required to pay the $500fee. (Certain
    attorneys for the United States are also exemptfrom the requirement of applyingfor pro hac vice status. See L.R. 83-2.1.4.) A copy of the
    G-64 ORDER in Word or WordPerfectformat must be emailed to the generic chambers email address. L.R. 5-4.4.2.
SECTION I - INFORMATION
Neufeld, Courtney A.
Applicant's Name (Last Name, First Name & Middle Initial)                                         check here iffederal government attorney
K&L Gates LLP
Firm/Agency Name
925 Fourth Ave., Suite 2900                                              (206) 370-7836_____________          (206) 370-7022_____________
                                                                         Telephone Number                    Fax Number
Street Address
Seattle, WA 98104_________________________________                                        courtney.neufeld@klgates.com
City, State, Zip Code                                                                               E-mail Address

I have been retained to represent the following parties:
Entropic Communications, LLC                                             [x] Plaintiff(s) [j Defendant(s) [3 Other:
                                                                         [J Plaintiffs) [J Defendant(s) [J Other:
Name(s) of Party(ies) Represented

List all state and federal courts (including appellate courts) to which the applicant has been admitted, and provide the current status of his or
her membership. Use Section IV if more room is needed, or to provide additional information.

             Name of Court                               Date ofAdmission            Active Member in Good Standing? (if not, please explain)
Supreme Court of Washington                                10/31/2022               Yes (Certificate of Good Standing attached)

Western District of Washington                              02/27/2023              Yes




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List all cases in which the applicant has applied to this Court for pro hac vice status in the previous three years (continue in Section IV if
needed):
        Case Number                                    Title ofAction                              Date ofApplication       Granted / Denied?




If any pro hac vice applications submitted within the past three (3) years have been denied by the Court, please explain:




Attorneys must be registered for the Court's electronic filing system to practice pro hac vice in this Court. Submission
of this Application will constitute your registration (or re-registration) to use that system. If the Court signs an Order
granting your Application, visit www.pacer.gov to complete the registration process and activate your e-filing
privileges in the Central District of California.

           SECTION II - CERTIFICATION

           I declare under penalty of perjury that:

           (1) All of the above information is true and correct.
           (2) I am not a resident of the State of California. I am not regularly employed in, or engaged in
               substantial business, professional, or other activities in the State of California.
           (3) I am not currently suspended from and have never been disbarred from practice in any court.
           (4) I am familiar with the Court's Local Civil and Criminal Rules, the Federal Rules of Civil and
               Criminal Procedure, and the Federal Rules of Evidence.
           (5) I designate the attorney listed in Section III below, who is a member in good standing of the Bar
               of this Court and maintains an office in the Central District of California for the practice of law, in
               which the attorney is physically present on a regular basis to conduct business, as local counsel
               pursuant to Local Rule 83-2.1.3.4.

               Dated   5//<A/-2S
                                                                       Courtney A. Neufeld




G-64 (09/20)               APPLICATION OF NON-RESIDENT ATTORNEY TO APPEAR IN A SPECIFIC CASE PRO HAC VICE                              Page 2 of 3
- - - - - - - - - --·-- - -·- - - - - - - - - -
         Case 2:22-cv-07775-JWH-KES Document 239 Filed 05/17/23 Page 3 of 4 Page ID #:2718


      SECTION III - DESIGNATION OF LOCAL COUNSEL
      Goodrich, Christina N.
      Designee's Name (Last Name, First Name & Middle Initial)
      K&L Gates LLP
      Firm/Agency Name
      10100 Santa Monica Boulevard, 8th Floor                           (310) 552-5547                            (310) 552-5001
                                                                        Telephone Number                          Fax Number
      Street Address                                                    christina.goodrich@klgates.com
      Los Angeles, CA 90067                                             Email Address
      City, State, Zip Code                                             261722
                                                                        Designee's California State Bar Number

      I hereby consent to the foregoing designation as local counsel, and declare under penalty of perjury that I maintain an office in the
      Central District of California for the practice of law, in which I am physically present on a regular basis to conduct business.
                    Dated May 17, 2023

                                                                        :r"'f'."""
                                                                        Christina N. Goodrich


                                                                        ~~ (srp/Jt;d_
                                                                                         (pt,... typ, o, p,;nt)


                                                                        Designee s Signature
      SECTION IV - SUPPLEMENT ANSWERS HERE (ATTACH ADDITIONAL PAGES IF NECESSARY)




     G-64 (09/20)              APPLICATION OF NON-RESIDENT ATTORNEY TO APPEAR IN A SPECIFIC CASE PRO HAC VICE                        Page 3 of3
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  CERTIFICATION OF CURRENT STATUS

  April 25, 2023


  TO WHOM IT MAY CONCERN:

  This is to certify that according to the records of the Washington State Bar
  Association, Ms. Courtney Anne Neufeld, license no. 60154 was licensed or
  admitted to the practice of law as a lawyer in this state by the Washington
  Supreme Court on October 31, 2022.
  As of the date of this certificate, Ms. Courtney Anne Neufeld is and has been
  in good standing as a(n) Active lawyer of the Washington State Bar
  Association, who is Eligible to practice law in this state as a lawyer.

  This certificate reflects the date of admission or licensure and the license
  status as of the date stated. Historical information about status, including
  periods on inactive status, administrative and disciplinary suspensions,
  disbarments, resignations, etc., are not reflected in this information, but are
  available through a Status History Certificate. A summary of confidential
  grievances and public discipline imposed is available, if authorized by the
  member, through a Discipline History Certificate.




                                       Terra Nevitt
                                    Executive Director


                             Washington State Bar Association
                               1325 Fourth Ave, Suite 600
                                Seattle, WA 98101-2539
                                    206-443-WSBA
